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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                          Case No.: 1:01−cr−00101
                                                            Honorable Joan H. Lefkow
, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 11, 2019:


         MINUTE entry before the Honorable Joan H. Lefkow as to Eddie C Hicks: Jury
trial held, jury deliberations begin. Jury trial ends. Jury verdict entered of guilty as to
counts one (1), two (2), three (3), four (4), six (6), seven (7), eight (8), nine (9). Order
cause referred to the probation office for presentence investigation. Post trial motions are
to be filed on or before 4/9/2019. Status hearing is set for 4/10/2019 at 9:00 a.m. to set a
sentencing date. Mailed notice (ags, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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